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                                    ID #:9171


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  7 Attorneys for Plaintiff
  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
 10
 11 SERENA FLEITES,
 12               Plaintiff,               CASE NO. 2:21-CV-04920-CJC-ADS
 13         v.                             DISCOVERY DOCUMENT:
 14 MINDGEEK S.A.R.L.; MG                  REFERRED TO MAGISTRATE
    FREESITES, LTD; MINDGEEK               JUDGE AUTUMN D. SPAETH
 15 USA INCORPORATED; MG
    PREMIUM LTD.; MG GLOBAL                [PROPOSED] NOTICE OF MOTION
 16 ENTERTAINMENT INC.; 9219-              AND MOTION TO COMPEL
    1568 QUEBEC, INC.; BERND               DEFENDANTS’ BUY-OUT
 17 BERGMAIR; FERAS ANTOON;                AGREEMENTS
    DAVID TASSILLO; COREY
 18 URMAN; VISA INC.; COLBECK
    CAPITAL DOES 1-5;                      Jurisdictional Discovery Cutoff:
 19 BERGMAIR DOES 1-5                      June 16, 2023
 20               Defendants.
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                                                           CASE NO. 21-CV-04920-CJC-ADS
      [PROPOSED] NOTICE OF MOTION AND MOTION TO COMPEL DEFENDANTS’ BUY-OUT
      AGREEMENTS
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  1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that, as soon hereafter as the matter may be
  3 heard, in the courtroom of the Honorable Autumn D. Spaeth, located at the Ronald
  4 Reagan Federal Building and United States Courthouse, Courtroom 6B, 411 West
  5 Fourth Street, Santa Ana, CA 92701, Plaintiff Serena Fleites will move the Court for
  6 an Order compelling Defendants Bergmair, Tassillo, and Antoon to produce their
  7 respective buy-out agreements and to compel Defendant Bergmair to appear for
  8 continued deposition testimony relating to these issues.
  9         Plaintiff brings this motion pursuant to Federal Rules of Civil Procedure 26,
 10 30, 34 and 37; Local Rules 7-19 and 37; and this Court’s July 2018 Standing Orders
 11 on Discovery Disputes.
 12         In accordance with L.R. 7-3, 7-19.1, and 37-1, counsel for Plaintiff notified
 13 the Defendants of her intent to move ex parte for the requested relief, and the parties
 14 subsequently conferred by e-mail on June 21 and June 26, 2023, and telephonically
 15 on June 23, 2023, before filing this motion. Defendants oppose the requested relief.
 16         This motion is based upon this Notice, the accompanying Memorandum of
 17 Points and Authority, the pleadings and papers on file in this action, and on such
 18 other evidence as may be submitted to the Court. A proposed Order accompanies
 19 this application.
 20
 21 Dated: June 29, 2023                    Respectfully Submitted
 22                                         BROWN RUDNICK LLP
 23
 24                                          By: s/ Michael J. Bowe

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                                             Lauren Tabaksblat
 27                                          (pro hac vice)
 28                                          ltabaksblat@brownrudnick.com
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  1 undercapitalization of the relevant MindGeek Entities, and the bias/prejudice of the
  2 named defendants in providing their testimony.
  3
  4 Dated: June 29, 2023                   Respectfully Submitted
  5                                        BROWN RUDNICK LLP
  6
  7                                         By: s/ Michael J. Bowe

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